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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 Philadelphia DIVISION

 In re:
                                                               Bankruptcy No. 19-14871
 Anthony Parker
                                                               Chapter 13
           Debtor
 Wilmington Savings Fund Society, FSB, d/b/a                   Hearing Date: March 26, 2020
 Christiana Trust, not individually but as trustee for         Hearing Time: 11:00 AM
 Pretium Mortgage Acquisition Trust                            Location: Courtroom Number #2
       Movant                                                  Philadelphia Division/Nix Building
 v.
 Anthony Parker
           Debtor/Respondent
 WILLIAM C. MILLER, Esquire
           Trustee/Respondent



                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY


          Secured Creditor, Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

individually but as trustee for Pretium Mortgage Acquisition Trust by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d) and 11 U.S.C. §

1301, for a modification of the automatic stay provisions for cause, and, in support thereof, states

the following:

      1. Debtor(s), Anthony Parker, filed a voluntary petition pursuant to Chapter 13 of the

          United States Bankruptcy Code on August 1, 2019.

      2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

          1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

          statutes affecting the jurisdiction of the Bankruptcy Courts generally.


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   3. On August 7, 2006, Anthony Parker executed and delivered a Promissory Note (“Note”)

        and Mortgage (“Mortgage”) securing payment of the Note in the amount of $177,600.00

        to ABN Amro Mortgage Group. A true and correct copy of the Note is attached hereto as

        Exhibit “A.”

   4. The Mortgage was recorded on September 14, 2006 in Doc Id 51529587 of the Public

        Records of Philadelphia County, Pennsylvania. A true and correct copy of the Mortgage

        is attached hereto as Exhibit “B.”

   5. The Mortgage was secured as a lien against the Property located at 3159 BELGREEN

        RD PHILADELPHIA Pennsylvania 19154 (“the Property”).

   6. A loan modification was entered into on July 7, 2016 creating a new principal balance of

        $208,270.79. A true and correct copy of the Agreement is attached hereto as Exhibit

        “D.”

   7. The loan was lastly assigned to Wilmington Savings Fund Society, FSB, d/b/a Christiana

        Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust and same

        was recorded with the Philadelphia County Recorder of Deeds on January 21, 2016 at

        Doc Id 53014383. A true and correct copy of the Assignment of Mortgage is attached

        hereto as Exhibit “C”.

   8. Based upon the Debtor(s)’ Chapter 13 Amended Plan (Docket No.26), the property is

        treated outside the plan and Secured Creditor will receive post petition payments directly.

        A true and correct copy of the Amended Plan is attached hereto as Exhibit “E.”

   9.    Co-Debtor(s), Barbara Parker are liable on and/or has secured the aforementioned debt

        with the Debtor(s).

   10. Debtor has failed to make the monthly payments of principal, interest, and escrow in the


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       amount of $1,464.80 which came due on November 1, 2019, December 1, 2019, and

       January 1, 2020 respectively.

   11. Thus, Debtor(s)’ post-petition arrearage totaled the sum of $7,324.00 as of January 7,

       2020.

   12. Under Section 362(d)(1) of the Code, the Court shall grant relief from the automatic stay

       and Co-Debtor stay for “cause” which includes a lack of adequate protection of an

       interest in property. Sufficient “cause” for relief from the stay under Section 362(d)(1)

       and Co-Debtor stay pursuant to 11 U.S.C. § 1301 is established where a debtor has failed

       to make installment payments or payments due under a court-approved plan, on a secured

       debt, or where the Debtor(s) have no assets or equity in the Mortgaged Property.

   13. As set forth herein, Debtor has defaulted on his secured obligation as he has failed to

       make his monthly post-petition installment payments.

   14. As a result, cause exists pursuant to 11 U.S.C. § 362(d) and 11 U.S.C. § 1301 of the Code

       for this Honorable Court to grant relief from the automatic stay to allow Secured

       Creditor, its successor and/or assignees to pursue its state court remedies, including the

       filing of a foreclosure action.

   15. Additionally, once the stay is terminated, the Debtor(s) will have minimal motivation to

       insure, preserve, or protect the collateral; therefore, Secured Creditor requests that the

       Court waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) and 11 U.S.C. § 1301 to permit Wilmington Savings

Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust to take any and all steps necessary to exercise any and all rights it may have in


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the collateral described herein, to gain possession of said collateral, to seek recovery of its

reasonable attorneys’ fees and costs incurred in this proceeding, to waive the 14-day stay

imposed by Fed.R.Bankr.P. 4001(a)(3), and for any such further relief as this Honorable Court

deems just and appropriate.

Date: February 24, 2020

                                                          Respectfully submitted,

                                                          BERNSTEIN-BURKLEY, P.C.

                                                          By:/s/ Keri P. Ebeck
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